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OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                for the

                                            NORTHERN DISTRICT OF FLORIDA
                   United States of America                       )
                              v.                                  )
                   KENNETH B. NICKSON                             )   Case No: 3:97cr99-07/RV
                                                                  )   USM No: 04493-017
Date of Previous Judgment:          February 26, 1999             )   Thomas S. Keith, Assistant Federal Public Defender
(Use Date of Last Amended Judgment if Applicable)                 )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of X the defendant 9 the Director of the Bureau of Prisons 9 the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       9 DENIED. X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 200        months is reduced to 160 months                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    36               Amended Offense Level:                                          34
Criminal History Category: I                Criminal History Category:                                      I
Previous Guideline Range: 188 to 235 months Amended Guideline Range:                                        151       to 188   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
9 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
9 Other (explain):
III. ADDITIONAL COMMENTS


Except as provided above, all provisions of the judgment dated February 26, 1999, shall remain in effect.
IT IS SO ORDERED.

Order Date:         April 8, 2009                                     /s/ Roger Vinson
                                                                                               Judge’s signature


Effective Date:                                                       Roger Vinson, Senior U.S. District Judge
                     (if different from order date)                                          Printed name and title
